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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

vs.                                          Case No. 5:19cr31-TKW-MJF

MITCHELL SPAID,

     Defendant.
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                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the magistrate judge’s Report and Recommendation (Doc. 26), to

which there have been no timely objections, and subject to the Court’s consideration

of the Plea Agreement pursuant to Fed. R. Crim. P. 11, Defendant’s plea of guilty to

Count I of the Indictment is hereby ACCEPTED. All parties shall appear before the

Court for sentencing as directed.

      DONE and ORDERED this 2nd day of August, 2019.




                                    T. Kent Wetherell, II
                                T. KENT WETHERELL, II
                                UNITED STATES DISTRICT JUDGE
